                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA, ex rel., )
MARJORIE PRATHER,                  )
                                   )
          Plaintiffs,              )                Civil Case No. 3:12-cv-00764
                                   )
v.                                 )                Judge Aleta A. Trauger
                                   )
BROOKDALE SENIOR LIVING            )
COMMUNITIES, INC., et al,          )
                                   )
          Defendants.              )

______________________________________________________________________________

           RELATOR’S RESPONSE IN OPPOSITION TO DEFENDANTS’
           MOTION TO DISMISS THE THIRD AMENDED COMPLAINT
______________________________________________________________________________


                                      INTRODUCTION

       Relator alleges that Defendants submitted thousands of false claims to Medicare in

violation of the physician certification requirements found in 42 C.F.R. § 424.22, pursuant to

which physician certifications must be made at the time the patient’s plan of care is established,

or as soon thereafter as possible. See 42 C.F.R. § 424.22(a)(2). Ruling that Relator’s allegations

in this case adequately plead legal falsity, the Sixth Circuit explained that “completing the

physician certifications months after the fact cannot be said to have been ‘as soon as possible’

after the plan for a patient’s care was established.” U.S. ex rel. Prather v. Brookdale Senior

Living Cmtys., 838 F.3d 750, 755 (6th Cir. 2016).       “Prather has alleged a violation of this

regulation … by asserting that the certifications were obtained months late due only to the fact



  Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 1 of 21 PageID #: 1833
that Brookdale had accumulated a large backlog of Medicare claims, which itself arose solely

because of Brookdale’s ‘aggressive solicitation’ of its residents for Medicare-billable treatments

that were not always medically necessary or did not need to be performed by nurses who billed

to Medicare.” Prather, 838 F.3d at 765.

          Significantly, the Sixth Circuit also acknowledged the importance of the timing

requirement, recognizing that the deadline “makes it more difficult to defraud Medicare.” Id. at

764.   In view of this fundamental goal, Medicare regulations mandate compliance with this

requirement as a condition of payment. Prather, 838 F.3d at 766, citing 42 C.F.R. § 424.22 and

42 C.F.R. § 409.41.

          Based on the Supreme Court decision in Universal Health Services, Inc. v. U.S. ex rel.

Escobar, 136 S. Ct. 1989 (2016), Defendants now ask this Court to declare that the timing

requirement is not material to Medicare payment of home health claims, and that Relator has not

sufficiently plead scienter in accordance with the False Claims Act. In order to achieve this

result, Defendants (1) disregard the plain meaning of the regulations identifying the timing

requirement as a condition of payment; (2) diminish the significance of the timing requirement

as articulated by the Sixth Circuit; and (3) violate the applicable standard of review by ignoring

Relator’s specific allegations demonstrating that Defendants knowingly submitted the false

claims.

                                      APPLICABLE LAW

          A.     Standard of Review

          “In the qui tam context, ‘the Court must construe the complaint in the light most

favorable to the plaintiff, accept all factual allegations as true, and determine whether the


                                                2

  Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 2 of 21 PageID #: 1834
complaint contains enough facts to state a claim to relief that is plausible on its face.’” Prather,

838 F.3d at 761, citing U.S. ex rel. SNAPP, Inc. v. Ford Motor Co., 532 F.3d 496, 502 (6th Cir.

2008). See also U.S. ex rel. D’Alessio v. Vanderbilt Univ., 2014 U.S. Dist. LEXIS 36028, *3

(M.D. Tenn. Mar 19, 2014) (Campbell, J.) (citation omitted). “A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.” Id.

        Although Federal Rule of Civil Procedure 9(b) applies to False Claims Act lawsuits, it

“does not require a relator to plead evidence; the Fed.R.Civ.P. 8 requirement that the complaint

contain a ‘short and plain statement of the claim’ still applies.” U.S. ex rel. Cieszyski v. Lifewatch

Services, Inc., 2015 U.S. Dist. LEXIS 141721, *4 (N.D. Ill. October 19, 2015). “Rule 9(b) exists

to prevent spurious charges and provide notice to defendants of their alleged misconduct, not to

require plaintiffs to meet a summary judgment standard before proceeding to discovery.” U.S. ex

rel. Bingham v. Baycare Health System, 2015 U.S. Dist. LEXIS 107220, *11-12 (M.D. Fla.

August 14, 2015). See also U.S. ex rel. Tillson v. Lockheed Martin Energy Systems, Inc., 2004

U.S. Dist. LEXIS 22246, *85 (W.D. Ky. September 29, 2004)(Rule 9(b) “was never intended to

require a plaintiff to set forth every factual detail supporting its claim.”).

        Further, “malice, intent, knowledge and other conditions of a person’s mind may be

alleged generally.” Fed. R. Civ. Pro. 9(b). See also D’Alessio, 2014 U.S. Dist. LEXIS 36028, *4;

and United States v. Bollinger Shipyards, Inc., 775 F.3d 255, 260 (5th Cir. 2014 (“Knowledge

need not be pled with particularity under Rule 9(b); it need only be pled plausibly pursuant to

Rule 8.”).




                                                   3

  Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 3 of 21 PageID #: 1835
        “Factual questions …cannot be resolved at the motion to dismiss stage.” U.S. ex rel.

Shemesh v. CA, Inc., 89 F. Supp. 3d 36, 48 (D.D.C. 2015). “Rule 9(b) is analyzed case by case.”

Id. at 52.

        B.     Medicare Regulations

        As recognized by the Sixth Circuit, Medicare “‘pays for home health services only if a

physician certifies and recertifies’ the patient’s eligibility for and entitlement to those services.”

Prather, 838 F.3d at 755, quoting 42 C.F.R. § 424.22. Pursuant to 42 C.F.R. § 424.22, physicians

must certify that (a) “a plan for furnishing the services has been established and is periodically

reviewed by a physician;” (b) “the services were furnished while the individual was under the

care of a physician;” and (c) the required face-to-face encounter has taken place. See 42 C.F.R. §

424.22(a).

        “These certifications provide ‘a forward-looking projection of medical need at the time

the beneficiary’s plan of care is established,’ ensuring that a patient receives Medicare services

only to the extent she needs them.” Prather, 838 F.3d at 756, citing United States’ Statement of

Interest Regarding Defendants’ Motion to Dismiss, Dkt. 66, Page ID# 860.

        As noted above, this Medicare condition of payment explicitly requires that “the

certification of need for home health services must be obtained at the time the plan of care

is established or as soon thereafter as possible and must be signed and dated by the

physician who establishes the plan.” 42 C.F.R. § 424.22(a)(2) (emphasis added).

        The Sixth Circuit’s opinion in this case recognizes that these certifications are also

required for Medicare payment pursuant to 42 C.F.R. § 409.41, noting that “[i]n order for home

health services to qualify for payment under the Medicare program the following requirements


                                                  4

  Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 4 of 21 PageID #: 1836
must be met: . . . (b) [t]he physician certification and recertification requirements for home health

services described in § 424.22.” Prather, 838 F.3d at 766, citing 42 C.F.R. § 409.41. In so

ruling, the Sixth Circuit emphasized that “the same certification requirement—and the same

timing requirement for that certification—is applied by the regulatory subpart on which

Brookdale relies.” Id. (emphasis added).

                               SUMMARY OF RELEVANT FACTS

       The following relevant facts are taken from the Third Amended Complaint

(“Complaint”), Dkt. 98.

       A.      Background

       Brookdale Senior Living owns retirement communities and assisted living facilities

throughout the United States where it offers skilled nursing services to Medicare patients.

Brookdale Senior Living is a principal of ISC Home Health and ARC/ISC. All defendants share

the same corporate office. According to documents provided to Brookdale employees,

“Innovative Senior Care is Brookdale’s ancillary rehabilitation and wellness organization.” ISC

Home Health provides home health care services to Medicare beneficiaries. ISC Home Health

and/or ARC/ISC staff solicit referrals from the retirement community staff members on a daily

basis. (Complaint ¶¶ 66-69).

       To generate additional home health care and therapy revenue, Brookdale Senior Living

implemented aggressive marketing practices that were designed to fulfill its reigning philosophy:

“most every resident will need therapy or nursing intervention at some point.” (Complaint ¶¶

70-73). Ultimately, Defendants’ aggressive marketing and solicitation policies generated a

backlog of thousands of claims for home health care services that did not comply with Medicare


                                                 5

  Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 5 of 21 PageID #: 1837
regulations. To facilitate billing Medicare for these claims, Defendants implemented the Held

Claims Project. (Complaint ¶ 74).

       B.      The Held Claims Project

       In September of 2011, there was a large backlog of about 7,000 unbilled Medicare claims

worth approximately $35 million. These claims were referred to as “held claims.” The claims

were backlogged because they were not in compliance with Medicare rules, primarily because

they related to care that was provided without physician certifications of need for home health

services; without properly established plans of care; and/or without required face to face

encounter documentation. (Complaint ¶ 77).

       Until September of 2011, each office location of ISC Home Health and ARC/ISC

submitted its own claims directly to Medicare. At that time, Brookdale Senior Living made the

decision to centralize the billing of most of the office locations (“agencies”) into its Brentwood,

Tennessee corporate headquarters. (Complaint ¶ 76). Following the transition, copies of patient

charts concerning the held claims were forwarded to the Brentwood office to be audited and

billed to Medicare. This project was referred to as the “Held Claims Project.” (Complaint ¶ 78).

       Relator was employed by Brookdale Senior Living as a utilization review nurse (“UR

nurse”) from September of 2011 through November 23, 2012. Relator was hired to work on the

“Held Claims Project” and she was terminated when it ended. (Complaint ¶ 75).

       Relator was directly involved in the Held Claims Project. Relator’s primary

responsibilities included without limitation (1) pre-billing chart reviews in order to ensure

compliance with the requirements and established policies of Defendants, as well as state, federal

and insurance guidelines; (2) working directly with the Regional Directors, Directors of


                                                6

  Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 6 of 21 PageID #: 1838
Professional Services, and clinical associates to resolve documentation, coverage, and

compliance issues; (3) acting as resource person to the agencies for coverage and compliance

issues; (4) reviewing visits utilization for appropriateness pursuant to care guidelines and patient

condition; and (5) keeping Directors of Professional Services apprised of problem areas requiring

intervention. All of these responsibilities directly related to Defendants’ efforts to bill the held

claims to Medicare. (Complaint ¶ 80).

         For each held claim, Defendants used a “billing release checklist” to identify items that

needed to be completed before the claim could be released for final billing to Medicare. Once the

checklist was finished, it would be attached to the AR Transaction Report, which listed the

nursing and therapy visits and the charges to be billed to Medicare. The combined document

would then be taken to the employees in the billing office. As soon as the Medicare billing

employees received this documentation, they immediately submitted the final bill to Medicare.

Miaona Osborne was the Medicare supervisor of the employees in the billing office. (Complaint

¶ 82).

         Throughout the duration of the Held Claims Project, senior executives urged Relator and

others to expedite the process of releasing the claims for billing to Medicare, and told them to

ignore compliance problems that slowed down the process. (Complaint ¶ ¶ 86-96). One of these

executives, Shad Morgheim, sent an email on April 25, 2012, addressed to Relator and others

working on the Held Claims Project, in which he announced the decision to move the audit

process back to the agencies for all claims older than 120 days. In this email, Mr. Morgheim

acknowledged that “[m]ost held claims that are older than 120 days, typically are held up for

FTF, orders, or certifications,” and complained that “we need to get these released in a quicker


                                                 7

  Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 7 of 21 PageID #: 1839
fashion.” Mr. Morgheim emphasized that “[t]here is a high sense of urgency to get these released

ASAP.” (Complaint ¶ ¶ 88-89).

       On May 17, 2012, Mr. Morgheim sent an email to Relator and others working on the

Held Claims Project, acknowledging that Defendants faced a “looming financial crisis related to

the held claims issue.” In order to expedite the process of releasing the oldest held claims, he

announced a new “strategy to help compensate physicians for the time they will spend with us to

release these claims.” (Complaint ¶ 97).

       On May 23, 2012, Mr. Morgheim followed up with another email to Relator and others

working on the Held Claims Project, outlining the policy in which Defendants paid physicians to

review outstanding held claims and sign orders for previously provided care. This email included

several attachments, including a document containing guidance for employees who encountered

physicians who did “not want to sign a document,” acknowledging that “if the physician is not

comfortable with signing a document then we can not force this process.” Clearly, Defendants

anticipated that some doctors would not be “comfortable” with Defendants’ policy of paying

doctors to certify stale claims for home health care services. (Complaint ¶ 98).

       As the Medicare supervisor of the employees in the billing office, Miaona Osborne was

directly involved in billing RAPs, including re-billing them when they were canceled because the

final bill was not submitted timely pursuant to 42 CFR 409.43(c)(2), which states that RAPs

“will be canceled and recovered unless the claim is submitted within the greater of 60 days from

the end of the episode or 60 days from the issuance of the request for anticipated payment.”

Pursuant to this process, Defendants billed RAPs without having physician certifications, and

then re-billed them immediately after the RAPs were canceled in order to keep the funds


                                                 8

  Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 8 of 21 PageID #: 1840
received through the RAPs, while still lacking the required physician certifications. This was

done repeatedly on a widespread basis for the subject held claims. (Complaint ¶ 99).

       Miaona Osborne’s participation in RAP billing and re-billing is reflected in her email

dated June 8, 2012, in which she states: “[j]ust wanted everyone to know that there is a ongoing

issue at IMP/RCH. It seems as though there is a trend of no orders for nursing in the recert

episode and there are a lot of 1st billable charges in the recert episode that we have had to delete.

When we are doing this we are having to cancel the Rap with Medicare, wait until the

cancellation is complete, then bill the correct rap and then either re-bill the final or correct the

final that was rejected. I just wanted everyone aware that this may trigger a probe or review

by Medicare.” (emphasis added) (Complaint ¶ 100).

       In an email dated June 21, 2012, Sonja Nolan informed others working on the Held

Claims Project that she had just “sent over 100 pages of Physicians orders to be signed. We have

a follow up plan in place to get these expedited. We are working the oldest claims and while

waiting on signed documents plan to grab the low hanging fruit, this way we will stop the newer

claims from aging.” (Complaint ¶ 102).

       In the rush to get held claims paid by Medicare, Defendants implemented incentive

programs for COAs and the management of home care agencies for completion of home care

plans. For example, a COA received one hundred dollars ($100) a week if ten (10) claims were

submitted to the utilization review department for billing and twenty-five ($25) for every claim

over and above the first ten (10). Angela Spalding, a COA, told Relator that during the week of

July 9 through 13, 2012, she completed more than fifty (50) releases to UR nurses resulting in a

bonus to her of $1,200 that she shared among her office peers. (Complaint ¶ 103).


                                                 9

  Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 9 of 21 PageID #: 1841
       In an email dated July 11, 2012, Sonja Nolan updated her co-workers regarding “the plot

to visit Physicians for orders.” (Emphasis added). This email reflects that 21 physician

certification orders were obtained that day, including one for an episode of care dated May 25,

2011, through July 23, 2011, and another for an episode dated June 29, 2011, through August 27,

2011. Out of the 21 patients identified in this email, 14 involved episodes of care that ended in

2011. (Complaint ¶ 104).

       Relator repeatedly told Blackwood and others that she had discovered problems that

needed to be addressed, and that Relator was not comfortable knowing the work was not right

but still forwarding the claims for billing to Medicare. On more than one occasion during these

discussions, Brandi Tayloe, Regional Vice President East-Central Division for ISC Home Health,

responded to Relator’s concerns with the statement that “We can just argue in our favor if we

get audited.” (Complaint ¶ 114).



                                         ARGUMENT

I.     Relator’s Third Amended Complaint Pleads Materiality Under the False Claims
       Act.

       A.     Escobar

       In Escobar, the Supreme Court reaffirmed that “[t]he term ‘material’ means having a

natural tendency to influence, or be capable of influencing, the payment or receipt of money or

property.” Escobar, 136 S. Ct. at 2002 (quoting 31 U.S.C. § 3729(b)(4)). The Court observed that

this definition borrows from other federal statutes and descends from the common law, as

recognized in earlier Court decisions. Id. Courts may analyze materiality from either the



                                               10

 Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 10 of 21 PageID #: 1842
perspective of a “reasonable” person or the particular defendant. Id. at 2002-03 (“[A] ‘matter is

material’ . . . (1) ‘[if] a reasonable [person] would attach importance to [it] in determining his

choice of action in the transaction’; or (2) if the defendant knew or had reason to know that the

recipient of the representation attaches importance to the specific matter ‘in determining his

choice of action,’ even though a reasonable person would not.”) (quoting Restatement (Second)

of Torts § 538, at 80 (1977)) (second and fourth alterations in original).

       The Supreme Court also identified several factors bearing on the materiality inquiry,

including whether the requirement is labeled a condition of payment, 136 S. Ct. at 2003, whether

the violation goes to the “‘essence of the bargain,’” id. at 2003 n.5 (quoting Junius Constr. Co. v.

Cohen, 257 N.Y. 393, 400 (1931)), whether the violation is significant or “minor or

insubstantial,” id. at 2003, and whether the government took action in this or other cases when it

had knowledge of similar violations, id. at 2003-04. On remand, the First Circuit observed that

“[t]he language that the Supreme Court used in [Escobar] makes clear that courts are to conduct

a holistic approach to determining materiality in connection with a payment decision, with no

one factor being necessarily dispositive.” U.S. ex rel. Escobar v. Universal Health Servs. Inc.,

842 F.3d 103, 109 (1st Cir. 2016).

       B.      The Physician Certification Requirements Described in 42 C.F.R. § 424.22
               are Medicare Conditions of Payment.

       Defendants state in their Memorandum in Support of Motion to Dismiss (“Def.Mem.”)

that “when Congress or CMS wants to make timing a condition of payment, it knows how to do

so.” Def.Mem. at 13. Relator agrees, and submits as an example the unmistakable language

employed by CMS in 42 C.F.R. § 409.41 (labeled “Requirement for Payment”): “[i]n order for



                                                 11

 Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 11 of 21 PageID #: 1843
home health services to qualify for payment under the Medicare program the following

requirements must be met: . . . (b) [t]he physician certification and recertification requirements

for home health services described in § 424.22.”1

         Although Defendants elsewhere acknowledge that 42 C.F.R. § 409.41 sets forth

conditions of payment, 2 for purposes of this argument Defendants contend that “§ 409.41 does

not create new conditions of payment, but merely references the conditions of payment

‘described in § 424.22.’” Def.Mem. at 13. While Relator agrees that the requirements of §

424.22 are conditions of payment pursuant to the language of § 424.22, § 409.41 does not

exclude from its application any aspect of § 424.22 (particularly the timing requirement), as it

unequivocally mandates that the physician certification requirements described in § 424.22 must

be met in order for home health services to be paid by Medicare. Crucially, as noted above, the

Sixth Circuit held in this case that “the same certification requirement—and the same timing

requirement for that certification—is applied by” 42 C.F.R. § 409.41. Prather, 838 F.3d at

766, citing 42 C.F.R. § 409.41. (emphasis added).

         Defendants unfounded limitation of § 409.41 works in tandem with their distortion of §

424.22, to effectively dilute the physician certification requirement in a manner that CMS clearly

did not intend. Defendants ask this Court to rule that while the content of the certification is

important for payment, the manner in which the certification is effectuated is not.                         Such a


1 Defendants also refer to § 424.22(c), but that provision does not affect the resolution of their motion to dismiss.
Def.Mem. at 4. This amendment to the regulation became effective on January 1, 2015, after the relevant claims had
already been submitted to Medicare, in conjunction with a modification to the face-to-face requirement. See 79
Fed.Reg. No. 66032, 66050, 66117 (Nov. 6, 2014).
2 See Def.Mem. at 4 n.1 (“Medicare also conditions payment on the beneficiary’s actually being homebound and
actually needing skilled services. See 42 C.F.R. § 409.41(c) (conditioning payment on all requirements contained in
§§ 409.42-409.47 being met).”) and Dkt. 79, Page ID# 1038 (“Medicare conditions payment on the physician’s
certification that the beneficiary is homebound and in need of skilled services. 42 C.F.R. § 409.41(b).”).

                                                         12

    Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 12 of 21 PageID #: 1844
construction would open the door to the types of fraud that the Sixth Circuit recognized the

timing requirement was designed to prevent. Prather, 838 F.3d at 764. Moreover, Defendants’

strained interpretation also weakens § 424.22(d), which mandates that the “need for home health

services to be provided by [a home health agency] may not be certified or recertified, and a plan

of care may not be established and reviewed, by any physician who has a financial relationship

as defined in § 411.354 of this chapter, with that [home health agency].” See § 424.22(d).

Defendants’ view of § 424.22 is not justified by the language or the purpose of the rule, is not

consistent with the Sixth Circuit’s opinion in this matter, and does not provide a basis to dismiss

this case.3

         C.       Escobar Does Not Mandate Allegations Regarding Prior Payment Decisions.

         Defendants characterize Escobar as offering the guidepost that “‘proof of materiality’

includes ‘evidence that the defendant knows the Government consistently refuses to pay claims

in the mine run of cases based on’ the violation alleged.” Def.Mem. at 11, citing Escobar, 136 S.

Ct. 2003. To clarify, the language used by the Supreme Court reads as follows: “proof of

materiality can include, but is not necessarily limited to, evidence that the defendant knows

that the Government consistently refuses to pay claims in the mine run of cases based on” the

violation alleged. Escobar, 136 S. Ct. 2003 (emphasis added). Thus, this type of allegation is

simply one factor that is relevant to the materiality analysis.

         Defendants assert that allegations about “prior payment decisions are vital because they

relieve the court from having to ‘opine in the abstract’ about materiality.” Def.Mem. at 14, citing


3 Defendants’ argument that “the specific governs the general,” Def.Mem. at 13, fails because § 409.41 is not
“general,” as it explicitly states that the physician certification requirements of § 424.22 must be met for purposes of
Medicare payment. In any event, the Sixth Circuit has already recognized that § 409.41 applies to the timing
requirement. Prather, 838 F.3d at 766, citing 42 C.F.R. § 409.41.

                                                          13

    Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 13 of 21 PageID #: 1845
U.S. ex rel. McBride v. Halliburton Co., 848 F.3d 1027, 1032 (D.C. Cir. 2017).              Notably,

McBride was decided with a factual record on summary judgment and did not involve a

condition of payment. Id. at 1033. Moreover, the court characterized the relator’s allegations as

appearing to “shift between imprecise theories about unreasonable costs and faulty supporting

documentation.” Id. at 1032. This case clearly presents a different scenario, as Relator asserts

the widespread violation of an express condition of payment, with allegations the Sixth Circuit

has already found to be sufficiently precise.

        Similarly, U.S. ex rel. Schimelpfenig v. Dr. Reddy’s Labs. Ltd., No. CV 11-4607, 2017 WL

1133956 (E.D. Pa. Mar. 27, 2017), does not support dismissal in this case. In Schimelpfenig, the

relator did not allege a violation of a condition of payment, id. at *7, and the court found that the

relator did not allege a valid claim for legal falsity. Id. at *6.

        Defendants’ reliance on U.S. ex rel. Scharff v. Camelot Counseling, No. 13-cv-3791, 2016

WL 5416494 (S.D.N.Y. Sept. 28, 2016) is also misplaced, as that complaint failed to satisfy Rule

9(b), id. at *6, did not allege a violation of a condition of payment, id. at *8 n.2, and did not

explain why the fraudulent conduct was material. Id. at *8.

        Likewise, Knudsen v. Sprint Commc’ns. Co., No. C13-04476, 2016 WL 4548924 (N.D.

Cal. Sept. 1, 2016) does not support dismissal here, as that complaint did not satisfy Rule 9(b),

id. at *7, and did not allege that the government was unaware of the subject violations. Id. at

*13.

        In this case, Relator alleges that the United States was “unaware of the falsity of the

claims that Defendants submitted,” and paid Defendants “for claims that would otherwise not

have been allowed.” Complaint, ¶ 125. There is nothing in the record to indicate otherwise.


                                                   14

 Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 14 of 21 PageID #: 1846
         Moreover, following the filing of this action, the government has given no indication that

the timing requirement is not significant, and in fact has explicitly stated otherwise. Complaint,

¶ ¶ 50-51. Defendants’ claim that this guidance has “no relevance here,” Def.Mem. at 19,4 is

inconsistent with their argument that evidence concerning government payment decisions

following the investigation of a lawsuit’s allegations is “‘strong evidence’ that the requirements

in those regulations are not material.” Def.Mem. at 16, citing Abbott v. BP Expl. & Prod., Inc.,

2017 WL 992506, at *3 (5th Cir. Mar. 14, 2017).

         D.       The Physician Certification Deadline is Necessary to Prevent Medicare
                  Fraud.

         Interpreting the timing requirement, the Sixth Circuit explained its importance:

         By its nature, [as soon thereafter as possible] suggests urgency. So too here. Nor
         is it surprising that such language would be used in this context. Doctors are
         busy, and they may see a large number of patients in a given year. Although it
         may be easy for a doctor to remember shortly after an appointment that she met
         with a particular patient on a particular day, found that the patient needed home-
         health services, and established a plan for providing those services to the patient,
         it likely would be much harder to remember this information months later. The
         deadline also makes it more difficult to defraud Medicare. Absent a deadline,
         a home-health agency might be able to provide unnecessary treatment absent a
         doctor’s supervision and take the time to find doctors who are willing to validate
         that care retroactively. A deadline allowing only a short—and justified—delay
         between the beginning of care and the completion of the physician
         certification could make such a scheme difficult to pull off.


Prather, 838 F.3d at 764 (emphasis added).                 The Sixth Circuit’s analysis is consistent with

guidance issued by the Office of Inspector General for the Department of Human Resources

(“OIG”). Complaint, ¶ ¶ 47-49. For example, the OIG has identified “untimely and/or forged


4 While the Sixth Circuit ruled that this guidance did not set a “hard rule” in light of the regulation’s “flexible ‘as
soon thereafter as possible’ language,” it did not hold that the guidance is not relevant for any purpose. Prather, 838
F.3d at 765 n.6.

                                                         15

    Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 15 of 21 PageID #: 1847
physician certifications on plans of care” as a special area of concern, and has described the

importance of the “dual role” of physicians by emphasizing that the “physician role has become

one of ‘gatekeeper’ at the onset, ensuring that the patient is eligible for Medicare home health

services.” Complaint, ¶ 47, 49, citing The Physician’s Role in Medicare Home Health 2001” at 4

(https://oig.hhs.gov/oei/reports/oei-02-00-00620.pdf).

       E.      The Authorities Identified in the Complaint Demonstrate Materiality.

       While Defendants dismiss the Complaint’s reference to the certifications contained in

CMS Form 855A as a “one-off, irrelevant” authority, Def.Mem. at 17, they completely ignore

Relator’s allegations identifying Defendants’ misrepresentations regarding physician

certifications when they submitted the false claims to Medicare.      Complaint, ¶ ¶ 34-38.     In

utilizing Form 1450 to bill Medicare, Defendants explicitly certified that “[p]hysician’s

certifications and re-certifications, if required by contract or Federal regulations, are on file.”

Complaint, ¶ 37.      These certifications were false and misleading because the physician

certifications in connection with the subject claims did not satisfy the material requirement that

they be obtained at the time the plans of care were established or as soon thereafter as possible.

Complaint, ¶ 124. Pursuant to Escobar, Defendants’ “failure to disclose noncompliance with

material statutory, regulatory, or contractual requirements makes those representations

misleading half-truths.” Escobar, 136 S. Ct. at 2001.

       Defendants also assert that the OIG guidance identified in Paragraph 47 of the Complaint

“is irrelevant here because it relates only to 42 C.F.R. § 409.43(c)(3).” Def.Mem. at 18. See 63

Fed.Reg.No. 42410 (August 7, 1998). To the contrary, the guidance specifically references the

requirements of 42 C.F.R. § 424.22. Id. at 42414 n.33, 42416 n.55 and 42417 n.58.


                                                16

 Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 16 of 21 PageID #: 1848
         Defendants next point to the section relating to the “Claim Development and Submission

Process,” Def.Mem. at 18, which provides that “[p]articular attention should be paid to issues

associated with medical necessity, homebound status of beneficiary, physician certification of

plan of care, and qualifying services to establish coverage eligibility.”                  63 Fed.Reg. at 42415.

This section warns providers to “take all reasonable steps to ensure that claims for home health

services are ordered and authorized by a physician,” id. at 42416, pursuant to the requirements

of “42 CFR 424.22(a) and (b).” Id. at 42416 n.55. While Defendants assert that “the signature-

timing requirement in § 424.22(a)(2) is not identified as one of those areas of concern,”

Def.Mem. at 18-19 (emphasis in original), they do not explain how the specific reference to 42

C.F.R. § 424.22(a) does not identify 42 C.F.R. § 424.22(a)(2).

         Significantly, this guidance also explains that a “home health agency cannot avoid

liability for filing improper claims simply because a physician has ordered the services,” noting

that “Medicare . . . imposes a duty to investigate the truth, accuracy, and completeness of claims

before they are submitted.” 63 Fed.Reg. at 42416-42417 n.55. 5

         Defendants argue that the guidance described in Paragraph 48 of the Complaint “merely

recites the language in § 424.22(a)(2) and says nothing about whether the Government would

deny claims based on any violation.” Def.Mem. at 19 n.8. In response, Relator respectfully

submits that the OIG’s explicit identification of the timing requirement in a “Special Fraud Alert”

further demonstrates the materiality of the requirement.


5 Relator further notes that this guidance directs home health agencies to “[p]rovide that the compensation for billing
department personnel and billing consultants should not offer any financial incentive to submit claims regardless of
whether they meet applicable coverage criteria for reimbursement.” 63 Fed.Reg. at 42415.                  Defendants’
compensation of billing department employees in connection with the Held Claims Project raises issues regarding
their compliance with this guidance, and is relevant to this Court’s analysis of the scienter requirement. Complaint,
¶ 103.

                                                         17

    Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 17 of 21 PageID #: 1849
II.     The Complaint Properly Alleges That Defendants Knowingly Submitted False
        Claims.

        The False Claims Act requires that false claims be submitted “‘knowingly,’ i.e., with

actual knowledge of the information, or with deliberate ignorance or reckless disregard for the

truth or falsity of the claim.” Prather, 838 F.3d at 761 (citation omitted). Complaint, ¶ 64. In

Escobar, the Supreme Court recognized that “the Act's scienter requirement ‘require[s] no proof

of specific intent to defraud.’” Escobar, 136 S. Ct. at 1999 n.2. Especially in light of the rule

that knowledge may be alleged generally, Fed. R. Civ. Pro. 9(b), Relator’s Complaint is more

than sufficient to allege scienter.6

        Initially, Relator notes that Defendants concede that a “defendant can have actual

knowledge that a requirement is material if ‘the Government expressly call[s] it a condition of

payment.’” Def.Mem. at 23 citing Escobar, 136 S. Ct. at 2002. The express language of 42

C.F.R. § 409.41 and 42 C.F.R. § 424.22, as noted above, demonstrates Defendants’ actual

knowledge of materiality in this case.

        While Defendants proceed to construe every inference of the allegations in the Complaint

in their favor (contrary to the standard of review applicable to their motion), the allegations that

they do not mention are more than sufficient to establish scienter.

        Defendants’ senior executives were specifically aware that held claims did not have

proper physician certifications.       Complaint, ¶ 89. When Relator and others identified these

compliance problems, they were told to ignore them. Complaint, ¶ 91. In fact, Defendants

specifically instructed Relator and others not to look for problems related to Medicare billing,


6 In its opinion granting Defendants’ Motion to Dismiss Relator’s First Amended Complaint, this Court found that
the requirement to plead intent had been met. Dkt. 71 at 33 n.10.

                                                      18

    Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 18 of 21 PageID #: 1850
Complaint, ¶ 91, and to ignore any compliance issues regarding information in the records.

Complaint, ¶ 87.

        Relator’s allegations regarding Defendants’ payments to doctors to certify stale claims are

also relevant to the scienter analysis, especially considering that Defendants acknowledged that

some doctors might not be comfortable with signing documents under those circumstances.

Complaint, ¶ ¶ 97-98.

        In response to Relator’s repeated efforts to alert management that the claims did not

comply with Medicare conditions of payment, Defendants bluntly stated that “[w]e can just

argue in our favor if we get audited.” Complaint, ¶ 114. Prather, 838 F.3d at 757-758. In this

context, Miaona Osborne’s email on June 8, 2012, is particularly illuminating, as she issues the

following warning to others regarding their RAP billing and re-billing: I just wanted everyone

aware that this may trigger a probe or review by Medicare.” (emphasis added) (Complaint ¶

100).

III.    The Complaint Adequately Pleads a Reverse False Claim.

        Defendants argument that the Complaint does not adequately state a reverse false claim is

based on the same arguments they assert with respect to Relator’s other claim. Def.Mem. at 24.

For the reasons discussed above, the Complaint’s reverse false claim allegations satisfy the

requirements of the False Claims Act.

                                         CONCLUSION

        Based on the above and on the detailed allegations in the Third Amended Complaint,

Relator has satisfied the requirements of Federal Rule 9(b) and Rule 12(b)(6). Accordingly,




                                                19

 Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 19 of 21 PageID #: 1851
Defendants’ motion to dismiss should be denied. Alternatively, Relator respectfully requests

leave to file an amended complaint to address any concerns the Court may have.

                                                   Respectfully Submitted,

                                                   /s/ Patrick Barrett
                                                   Patrick Barrett (BPR # 020394)
                                                   Barrett Law Office, PLLC
                                                   4205 Hillsboro Pike, Suite 303
                                                   Nashville, TN 37215
                                                   615-463-4000
                                                   pbarrett@barrettlawofficetn.com

                                                   /s/ Michael Hamilton
                                                   Michael Hamilton (BPR # 10720)
                                                   Provost Umphrey Law Firm, LLP
                                                   4205 Hillsboro Pike, Suite 303
                                                   Nashville, TN 37215
                                                   615-297-1932
                                                   mhamilton@pulf.com


                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document has been served upon the following counsel

via e-mail on this 1st day of May, 2017.



Brian Roark
Taylor Chenery
Angela Bergman
Bass Berry & Sims, PLC
150 Third Ave., South, Ste. 2800
Nashville, TN 37201-3001
Telephone: 615- 742-6200
Facsimile: 615-742-0442
broark@bassberry.com
tchenery@bassberry.com
abergman@bassberry.com



                                              20

 Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 20 of 21 PageID #: 1852
Mark H. Wildasin
Assistant United States Attorney
United States Attorney’s Office
110 Ninth Ave., South, Ste A961
Nashville, TN 37203
Telephone: 615-736-5151
Facsimile: 615-736-5323
Mark.Wildasin@usdoj.gov



                                          /s/ Patrick Barrett




                                     21

 Case 3:12-cv-00764 Document 106 Filed 05/01/17 Page 21 of 21 PageID #: 1853
